 USCA Case #23-3190            Document #2023543             Filed: 10/24/2023      Page 1 of 1
                     United States Court of Appeals
                                FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                         ____________

No. 23-3190                                                    September Term, 2023
                                                                           1:23-cr-00257-TSC-1
                                                     Filed On: October 24, 2023 [2023543]
United States of America,

                  Appellee

        v.

Donald J. Trump,

                  Appellant

                                            ORDER

      The notice of appeal was filed on October 17, 2023, and docketed in this court on
October 18, 2023. It is, on the court's own motion,

       ORDERED that appellant submit the documents listed below by the dates
indicated.

             Docketing Statement Form                                  November 8, 2023
             Transcript Status Report                                  November 8, 2023

It is

       FURTHER ORDERED that appellant submit a transcript status report every 15
days after the filing of the initial report, until all transcripts have been received. Within
three days of receipt of all transcripts, appellant is directed to file a Final Status Report
indicating the date the complete transcript was received. All reports must be served on
the parties and each reporter. It is

       FURTHER ORDERED that briefing in this case be deferred pending further order
of the court.

                                                            FOR THE COURT:
                                                            Mark J. Langer, Clerk

                                                    BY:     /s/
                                                            Scott H. Atchue
                                                            Deputy Clerk

The following forms and notices are available on the Court's website:

        Criminal Docketing Statement Form
        Transcript Status Report Form
